Case 1:05-cv-Oll46-.]DT-STA Document 11 Filed 08/15/05

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UNITED STATES DISTRJCT CoURT

EASTERN DISTRICT OF LoUlslANA
OFFICE oF THE CLERK

LORRE'ITA G. WHYTE

 

500 PoYDRAs ST., Surra C-
CLERK NEW ORLEANS, LA 70130
August 10, 2005
Robert Di Trolio, Clerk ca
United States District Court g
Western District of Tennessee §§
111 S. Highland "J`
Jackson, TN 38301 _o
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In Re: MDL 1657 Vioxx Products Liability Litigation L (3) 5

Dear Mr. Di Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district

for disposition pursuant to Title 28 USC l407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet

and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

Due to the hi h volume of cases involved in this liti ation lease rovide
a

er co ies of the above documents instead of sim l referrin to our website.
Your prompt attention in this matter is greatly appreciated

 

 

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,
Loretta G

. 'yt : Clerk
By il

Deputy Clerk
Enclosures

cc: Judicial Panel on Multidistrict Litigation

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Your Case Nos. Case Title Our Case Nos.

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1:05-1146 Earnestine L. Bills v. Merck & Co., Inc. 05-3630 L (3) J
hub-1134 Lillian O. Dawson, et al v. Merck & Co., Inc. 05-3631 L (3)

1:05-1155 Austin B. Franks, et al v. Merck & Co., Inc, 05-3632 L (3)

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CONDITIONAL TRANSFER ORDER (CTO-I9)

On February 16, 2005, the Panel transferred l38 civil actions to the United States Distn`ct Conrt for the

Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.

lt appears that the ac ions on this conditional transfer order involve questions.of fact which are common
to the actions previously transferred to the Eastern Distri`ct of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 bf the Rules of Procedure of the Judicial Panel on Multidistrict Liti_gation, 199
F.R.D. 425, 435-36 (2001) these actions are transferred under 28 U.S.C. § 1407 to ihe Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Zd 1352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

'*' FOR THE PANEL: -~-

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Clerk of the Panel § rl;__

 

 

 

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SCHEDUL'E CTO- 19- TAG~ALONG ACTIONS

I)OCKET NO. 1657

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IN RE VIOXX PRODUCTS LIABILITY LITIGATION

CASE CAPTION

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Alvin Hudson v. Merck & Co., lnc.
Joslyn Brown, etc. v. Merck & Co., lnc.

v Chamis Kimani, etc. v. Merck & Co., Inc., et al. i

Jerry Russell Langley, et al. v. Merck & Co., Inc.

. Deltha King v. Merck &. Co., lnc. i‘r

 

CALIFORNIA CENTRAL .
CAC 2 05-3 722 Russ Whitmeyer v. Merck & Co., Inc.
CAC 2 05-3353 Jai<e E. Baker, et al. v. Merck & Co., lnc.
CAC 2 05-3854 Robert Schwartz v. Merck & Co., Inc.
CAC 2 05-3974 Joe Obbema, et al. v. Merck & Co., Inc.
CAC 2 05-3975 § Tony Oriega, et ai. v. Merck & Co.1 Inc.
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CAC 2 05-4037 J'ol'in Thayer, et al. v. Merck & Co., lnci
CAC 2 05-4038 Jndith L. O]dham v. Merck & Co`, Inc.
CAC 8 05-350

CALIFORNIA EASTERN
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FLM 2 05-276
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FLORIDA SOUTHERN
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GEORGIA MlDDLE ii
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Jerry Kirby v. Merck & Co., Inc. i
Shaun Perkins, et al. v. Merck & Co., lnc.

Kathy Edmonds, et al. v. Merck & Co., lnc., et al.
Paul`ine Ferrell v. Merck & Co., inc., et al.

Geraldine Shedd, et al. v. Merck & Co., Inc., et al.

Wiliiam P. Monahan, et al. v. Merck & Co., lnc.

Thomas M. McCulla et al. v Merck & Co ,Inc.

Scott S Gardner, et al v Merck& Co., Inc. l
Michael Jackson v Merck & Co., Inc. l
Susan M. Johnson v. Merck & Co., Inc.

Mary Jane White, et al. v. Merck & Co., Inc. i
Finley F. Gable, Jr., et al. v. Merck & Co., Inc. t

Margie Kay Marlow, et a[. v. Merck & Co., Inc.

Jerome E. Lord et al. v. Merck & Co., Inc., et al. i
Ronald A. Smith v. Merck & Co., lnc., et al.

Michelle Zichlin v. Merck & Co., Inc.

Annie R, Kirnbrel, etc. v. Merck & Co., Inc. i i

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CASE CAPTION ‘

 

RusellWidener, etc v Merck&Co. ,lnc. ,et al.
Gwendolyn Woods, etc v. Merck& Co., lnc. etai
Betty Bumette, etc. v. Merck& Co. ,.Inc

Malissia Chance v Merck & Co., lnc.

Gladys Danford v. Merck & Co ,lnc. New GAS C A. # 5: 05- 46
Mae l-lili v Merck & Co., Inc.

Raymond Ci'oss v. Merck &. Co., Inc.

Constance Ruyle, et al v Merck & Co. ,Inc.
William Lind v. Merck & Co. ,.Inc

Mark Bentley, et al. v. Merck & Co., Inc.

 

 

 

 

 

ILS 3 05-329 Betty Sharl<ey v. Merck & Co., Inc.

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LOUISLANA MIDDLE
LA_M 3 05-831 Maylene T. Lofton v. Merck & Co., lnc.

LOUlSlANA WESTERN
LAW 5 05-871 Alice Rusell v. Merck & Co., Inc.

MARYLAND l
MD l 05-1470 Kelly A. Alder, et al. v. Merck &. Co., Inc.
MD l 05-1563 Leroy F. Lusby v. Merck & Co., lnc.

MINNESOTA

,_MN 0 05-1048 Barbara C. Persinger v. Merck & Co. ,lnc ~--

MNj 0 05-1049 Kathleen Keating v Merck & Co., Inc. *` _ i_
MN 0 05-1050 Jerinette Fairchild v. Mercl< & Co. ,Inc. _1- 4‘ l
MN 0 05-1051 David W Baker v Merck & Co ,Inc. ‘
MN 0 05-1052 Robert J. Ashley v. Merck & Co., Inc.
MN 0 05-1064 Carole Webb v. Merck & Co., Inc.
MN 0 05-1065 Lilliaii Bontrager v. Merck & Co., Inc.
MN 0 05-1066 Steve A. Olson v. Merck & Co., Inc.
MN 0 05-106'? Joyce Hammett v. Merck & Co., lnc.
MN 0 05-1068 Billy W. Stanaland v. Merck & Co., Inc.
MN 0 05-1071 Carolirie E. Wisniewski v. Merck & Co. Inc.
MN 0 05-1072 Mary R Zinimer v. Merck & Co., Inc.
MN 0 05-1074 Williarn Rosen v. Merck & Co ,.Inc
MN 0 05-1075 Louise J. Ragatz v, Merck &. Co., Inc.
MN 0 05-1076 Philip P. McGuire v. Merck & Co., Inc.
MN 0 05-1077 Colleen L. Lavine v. Merck & Co. Inc.
MN 0 05-1078 Rodney L. Coy v. Merck & Co., Inc.
MN 0 05-1079 Eileen A. Feist v. Merck & Co., lnc.

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MN 0 05-1080 Delores T. Ganje v. Merck & Co., Inc.
MN 0 05~1100 Jerald R. Gibson v. Merck & Co., lnc.
MN 0 05~1101 Francis J. Dav`is v. Merck & Co., lnc.
MN 0 05-1102 Susan Herrboldt v. Merck & Co., lnc.
MN 0 05~1103 Victor S. Sorenson v. Merck & Co., lnc.
MN 0 05-1104 l Karen L. Castellese v. Merck & Co., Inc.
MN 0 05-1105 Lorri S. Book v. Merck & Co., lnc.
MISSOUR_I EASTERN
MOE 4 05-836 Shirley Bailey, et al. v. Merck & Co., lnc‘, et al.
MOE 4 05-838 Charles Hagler, et al. v. Merck & Co., liirc., et al.
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MOE 4 05-848 Barbara Middieton, et al v. Merck&Co ,lnc. et al.
MOE 4 05-866 Shirley Martin v Merck & Co., lnc.
MOE 4 05-867 _rEdna Stokes v. Merck & Co., lnc. .
Moi; 4 05-869 Domchy iackson v. Merck & co., inc_ \
MQE 4 05-878 Earlene McBride, et al. v. Merck & Co., lnc., et al. k
iv{GL. 4 135 379 ivlu.lua Swiui, vi ai. v. iv{vi\..i\ iga Cu., 111\,., Ci_n'i_. OppOSEd 812/05
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MISSISSIPPI NORTl-IERN
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Phyllis Dirk, etc. v. Merck & Co., lnc.
NJ 3 05-2734

Ratko Zenzerovic v. Merck & Co., lnc.

 

 

 

 

 

 

NEW MEXICO _ _
NM 1 05-592 Rose Jaramillo v. Merck & Co., Inc. l
NM l 05-593 Iulie R. lessen v. Merck & Co., lnc.
N`M 1 05-595 Linda K. McGlinri v. Merck & Co., lnc.
NM 1 05-598 Frank Moya v. Merck & Co., lnc.
NM 1 05-599 Anna Mar`ie Rodriguez v Merck & Co. ,Inc.
NM l 05-625 _“, w Matthew Carrasco v. Merck & Co. ,.Inc ~~
NM 2""`05-594 i_ . Christopher Wayne Carmicl<le v. Merck & Co., Inc.
NM 2 05-627 Cieo Paiz v. Merck & Co., lnc.
NM 2 05-633 Marie Martinez v. Merck & Co., Inc., et al.
NM 6 05-596 Michael Ely v. Merck & Co., Inc.
NM 6 05-626 I-lelen Keleher v. Merck & Co., Inc.
NM 6 05-637 Denise Gonzales v. Merck & Co., Inc., et al.
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Midwest Operating Engineers l-lealth &, Welt`are Fund v. Merck & Co.-, Inc.

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NEW YORK EASTERN 1
NYE 1 115-2446 Rosalie Gar@ia v. Meer & co., 111@., ec al. 1 05-34 40
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NYS 1 05-5420 Andrew Montesano v. Merck &, Co., lnc., et al. 0 5 -3 4 4 2
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oHN 1 05-1137 1 110an J. Nulan, er 111 v. Meer & Co., lnc. 05"34 4 3
OHN 1 05-1198 Cloteel J. Wade v. Merck &. Co., Inc. 05_34 4 4
OHN 1 115-1201 Connie 'r. Whire v. Merck & co., Inc. 05"3445
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OHN 1 05~1210 Beverly williams v. Merck & Co., Inc. 05-34 48
OHN 1 05-1211 Leroy Omerza, et al. v. Merck& Co., Inc. 05_3449
OHN 1 051-1212 j I.uis F. Tadrzak v` Merck& Co., Inc. 05_3450
OHN 1 05-1213 l David B. Fender v. Merck & Co., lnc. 05-3451
oHN 1 115-1214 Domzhy Wih=,y v. Merck & Co., Inc. 05~3452
OHN 1 115-1213 Keich L. Jon.:s, er 31 v. Merck & cu., lnc. 05-34573
OHN 1 05-1219 Byron W. James, et a1. v. Merck & Co., Inc. 1, 05*“3454
OHN 1 05-1220 Pamcla S.Bentley, et al. v. Merck& Co., Inc. ' 05-3455
GHN 1 05-1221 Theodore J. Jenda, et a1. v Merck & Co., Inc. 05-34 56
OHN l 051-1222 Andrew L. Barnes, et al . v. Merck & Co., lnc. 05'-3 45 7
OHN 1 05-1225 f Darrek N. Norris, et a1. v. Merck& Co., lnc. 05-3458
OHN 1 05-122'7 Donaid L. Moiser, et al. v. Merck & Co., Inc. 0 5 -3 4 5 9
OHN 1 03&28 Mmdd&BdegmaLvd%mk&(hqma 05-3460
OHN 1 05-1230 Paul Mundo, Jr., et al. v. Merck & Co., lnc. 05-3 461
OHN 1 05~1231 Charlene Hutchings, et a1. v. Merck & Co., lnc. 05-3462
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OHN 1 05-1233 James Trusso, etc. v. Merck & Co., lnc. 05-346 4
OHN 1 05-1235 Joseph Udovic, etc. v. Merck & Co., Inc. 05 -3 4 6 5
OHN 1 05-1242 Pamala S. Brewer v. Merck & Co.,~lnc. `0 5-3 4 6 6
OHN 1 05-1243 dChai'les E. Réj}nolds, et a1. v. Merck & Co., Inc. n 0 513 4 6 7
OHN l 05-1244 Richard Pyne, et a1. v. Merck & Co., lnc. _5' 05-346 8
OHN 1 05-1245 Richarcl A. Car|e, et al. v. Merck & Co., lnc. \ 05-3 4 6 9
OHN 1 05-1246 Linda E. Rader, et a1. v Merck & Co., Inc. i 0 5-3 4 7 0
OHN 1 05-1247 Gerald'me H. Butler, et al. V. Merck & Co., Inc. 1 0 5-3 4 7 ]_
OHN 1 05-1243 Jackie L. Red`mbaugh, et al. v. Merck & Co., Inc. 05-3 47 2
OHN 1 115-1249 Johanna N. stner v. Merck & Co., lnc. 1 0 5_347 3
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OHN 1 05~1252 1 Richard E,. Famsworth v. Merck & Co., Inc. 1 0 5_.3 4 7 5
OHN 1 _05-1253 1 Estel C. Edwards, Sr. v. Merck & Co., Inc. 05_34 76
OHN 1 05-1254 Mary Jane Gould, et a1. v. Merck & Co., Inc. 0 5-3 4 7 7
OHN 1 05-1255 1 f Thomas Brant, et a|. v. Merck & Co., Inc. 05-3 47 8
OHN 1 05-1256 1 Elaine Pinle, et al. v. Merck& Co., lnc. x 05-3479
OHN 1 015-1257 Thomas Carroll, et a1. v. Merck &. Co., Inc. 05-348 0
OHN 1 05-1259 Jeanette Danford, etc. v. Merck & Co., lnc. 0 5-3 4 8 l
OHN 1 05-1261 Edna Gard.ner v. Merck&Co., Inc. 05-3482
OHN 1 05-1262 Byron Gilroy, etc. v. Merck & Co., lnc.

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Case 1:05-cv-O 146-
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OHN 1 05-1265 l
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A}iayne J. Carte v. Merck & Co., lnc.

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Tammy Kimble v. Merck &. Co., lnc.

Marion D. Scott, et a1. v. Merck & Co., Inc.

Rose J. Kolar, et al. v. Merck & Co., lnc.

Earl M. Devinney, et a1. v. Merck & Co., Inc.

Sheryll R. Macon v. Merck &--Cc)., lnc.

Joseph P. Wilson, et al."'v. Merck &-Co., lnc.

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Mary Kasony v. Merck & Co., lnc. -
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Mable I. Taylor v. Merck & Co., Inc.

Valerie L. Wa]iace v. Merck & Co., Inc.

Charlene M. Sparren v. Merck & Co., Inc.

Iohn D. Rose v Merck & Co., lnc.

Shjrley Stalter, et al. v. Merck & Co., Inc. \
Rodney Stevenson, Sr., et al. v. Merck & Co., Inc. `
Edward Styka v. Merck &. Co., lnc.

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Norman D. Rob`mson, et a1. v. Merck & Co., Inc.

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chhard Tock, et a1. v Merck & Co., Inc.
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Almajean Karlovic, et al. v. Merck & Co., lnc.
Raymond Ervin, Jr., et al. v. Merck & Co., Inc.
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Claude Tillery, et al. v. Merck &. Co., Inc.
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Harrison Sarver, et a1. v. Merck & Co., lnc.

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- SCHEDUL'E CTO-19 TAG-ALONG ACTIONS (M`DL~1657

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